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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA

              - against -                                             ORDER

 OMARAMANAT,                                                      15 Cr. 536 (PGG)

                            Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

               The Court is in receipt of a pro se letter and accompanying materials from

Defendant Omar Amanat, dated March 30, 2022- which is appended to this order- seeking

appointment of counsel pursuant to 18 U.S.C. § 3006A for the purposes of his appeal.

               Because Defendant's appeal is currently pending before the United States Court

of Appeals for the Second Circuit, Defendant's request for the appointment of counsel must be

addressed by that court.

               Accordingly, the Clerk of Court is directed to forward Defendant's letter and

accompanying materials to the Clerk of Court for the United States Court of Appeals for the

Second Circuit.

Dated: New York, New York
       April 8, 2022
                                                                   SO ORDERED.



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                                                                   United States District Judge
